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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                  AT COVINGTON

CRIMINAL ACTION NO. 08-49-DLB-CJS-8

UNITED STATES OF AMERICA                                                          PLAINTIFF


vs.           ORDER ADOPTING REPORT AND RECOMMENDATION


WILLIE STOKES                                                                  DEFENDANT

                                   ********************

       This matter is before the Court upon the Report and Recommendation (“R&R”) of

the United States Magistrate Judge, wherein she recommends that the Court revoke

Defendant’s supervised release and impose a sentence of fourteen (14) months

incarceration, with a term of supervised release to follow that would terminate on December

18, 2021. (Doc. # 434). During the final revocation hearing conducted by Magistrate Judge

Candace J. Smith on April 13, 2015, Defendant admitted to violating the terms of his

supervised release, as set forth in the March 20, 2015 Violation Report of U.S. Probation

Officer Stacey M. Suter. (Doc. # 429).

       Defendant having filed a notice with the Court, thereby waiving his right to allocution

and stating that he has no objections to the R&R (Doc. # 435), the R&R is ripe for the

Court’s consideration. Having reviewed the R&R, and the Court concluding that the R&R

is sound in all respects, including the recommended sentence and the basis for said

recommendation, and the Court being otherwise sufficiently advised,




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       IT IS ORDERED as follows:

       (1)    The Magistrate Judge’s Report and Recommendation (Doc. # 434) is hereby

ADOPTED as the findings of fact and conclusions of law of the Court;

       (2)    Defendant is found to have VIOLATED the terms of his supervised release;

       (3)    Defendant’s supervised release is hereby REVOKED;

       (4)    Defendant is sentenced to the CUSTODY of the Attorney General for a term

of FOURTEEN (14) MONTHS, with credit given for time served since his detention on

the charged violations, and with a term of supervised release to follow that would terminate

on December 18, 2021, during which time Defendant shall remain subject to the same

conditions previously imposed, including substance abuse and mental health treatment,

and the additional condition that Defendant be placed in an inpatient treatment program as

directed by the Probation Office to begin immediately upon his release from imprisonment;

and

       (5)    A Judgment shall be entered contemporaneously herewith.

       This 1st day of June, 2015.




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